Filed 07/22/19                                            Case 19-21640                                          Doc 79



                                             UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF CALIFORNIA
                                                   SACRAMENTO DIVISION

           In re:                                                           Case No. 19-21640 B13
                    DEBORA LEIGH
                    MILLER-ZURANICH

                                 Debtor(s)



                         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

                    JAN P. JOHNSON, chapter 13 trustee, submits the following Final Report and Account
           of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
           follows:

                    1) The case was filed on 03/18/2019.

                    2) The plan was confirmed on NA .

                    3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
           NA .

                  4) The trustee filed action to remedy default by the debtor in performance under the plan
           on NA .

                    5) The case was converted on 07/03/2019.

                    6) Number of months from filing to last payment: 3.

                    7) Number of months case was pending: 4.

                    8) Total value of assets abandoned by court order: NA .

                    9) Total value of assets exempted: $112,125.00.

                    10) Amount of unsecured claims discharged without payment: $0.00.

                    11) All checks distributed by the trustee relating to this case have not cleared the bank.




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            Receipts:

                       Total paid by or on behalf of the debtor                             $600.00
                       Less amount refunded to debtor                                       $252.00

            NET RECEIPTS:                                                                                                         $348.00



            Expenses of Administration:

                 Attorney’s Fees Paid Through the Plan                                             $0.00
                 Court Costs                                                                       $0.00
                 Trustee Expenses & Compensation                                                  $48.00
                 Other                                                                             $0.00
            TOTAL EXPENSES OF ADMINISTRATION:                                                                                      $48.00

            Attorney fees paid and disclosed by debtor:                          $1,500.00



            Scheduled Creditors:
            Creditor                                                Claim         Claim            Claim           Principal         Int.
            Name                                    Class         Scheduled      Asserted         Allowed            Paid            Paid
            ALAMEDA COUNTY TAX ASSESSOR         OTHER                      NA            NA                  NA            0.00             0.00
            CRYSTAL SHORES EAST ASSOCIATIO      OTHER                      NA            NA                  NA            0.00             0.00
            CRYSTAL SHORES EAST ASSOCIATIO      Unsecured                  NA       8,974.25            8,974.25           0.00             0.00
            FCI LENDER SERVICES INC             Secured             694,587.75    694,587.75          694,587.75         300.00             0.00
            HALL MORTGAGE FUND LP               Secured             796,736.58           NA                  NA            0.00             0.00
            RESURGENT CAPITAL SERVICES          Unsecured                  NA         317.83              317.83           0.00             0.00
            SELECT PORTFOLIO SERVICES           Secured             118,000.00           NA                  NA            0.00             0.00
            TELLONE FINANCIAL                   OTHER                      NA            NA                  NA            0.00             0.00
            WASHOE COUNTY TAX ASSESSOR          OTHER                      NA            NA                  NA            0.00             0.00




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            Summary of Disbursements to Creditors:
                                                                                 Claim             Principal           Interest
                                                                               Allowed                 Paid               Paid
            Secured Payments:
                   Mortgage Ongoing                                             $0.00                 $0.00              $0.00
                   Mortgage Arrearage                                     $694,587.75               $300.00              $0.00
                   Debt Secured by Vehicle                                      $0.00                 $0.00              $0.00
                   All Other Secured                                            $0.00                 $0.00              $0.00
            TOTAL SECURED:                                                $694,587.75               $300.00              $0.00

            Priority Unsecured Payments:
                    Domestic Support Arrearage                                    $0.00               $0.00              $0.00
                    Domestic Support Ongoing                                      $0.00               $0.00              $0.00
                    All Other Priority                                            $0.00               $0.00              $0.00
            TOTAL PRIORITY:                                                       $0.00               $0.00              $0.00

            GENERAL UNSECURED PAYMENTS:                                      $9,292.08                $0.00              $0.00



            Disbursements:

                     Expenses of Administration                                       $48.00
                     Disbursements to Creditors                                      $300.00

            TOTAL DISBURSEMENTS :                                                                                    $348.00



                   12) The trustee certifies that the foregoing summary is true and complete and all
           administrative matters for which the trustee is responsible have been completed. The trustee
           requests that the trustee be discharged and granted such relief as may be just and proper.

           Dated: 07/22/2019                                  By: /s/ JAN P. JOHNSON
                                                                                            Trustee


           STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
           Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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